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                                          October 5, 2022


VIA ECF
The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

       Re:     In re Terrorist Attacks on September 11, 2001, 03-md-1570 (GBD) (SN)

Dear Judge Netburn:

Pursuant to the Court’s Opinion and Order filed September 21, 2022 (the “Order”) (ECF 8544), we
write on behalf of non-party Kreindler & Kreindler, LLP (“K&K”) to confirm that John Fawcett has
been removed from any work on the above-referenced multi-district litigation (“MDL”), and to
describe the steps taken to ensure that Mr. Fawcett does not have access to MDL-related materials
in the firm’s possession. See Order p. 64.

We confirm that Mr. Fawcett has been removed from any work on the MDL. Mr. Fawcett is no
longer working for K&K.

To ensure that Mr. Fawcett could not access MDL-related materials in K&K’s possession, the firm
disabled Mr. Fawcett’s K&K login account. As a result, Mr. Fawcett has no access to any part of
the K&K computer system, either at an office terminal or via Citrix (K&K’s remote desktop).
Mr. Fawcett no longer has access to any of the following: (i) his former K&K e-mail
address/account, (ii) K&K’s Dropbox cloud-storage account, (iii) K&K’s Case Media network
drive, where MDL-related materials were previously stored, (iv) K&K’s restricted Network
Directory where MDL-related materials are now stored, (v) K&K’s Citrix workspace, and
(vi) K&K’s online Sharefile. Access to the firm’s e-mail, network drives and directories, Citrix, and
Sharefile was shut down immediately upon learning of Mr. Fawcett’s breach on September 27, 2021
and has not been reinstated at any time. Within a few days, K&K similarly removed Mr. Fawcett’s
access to K&K’s Dropbox account by permanently disabling his login.

Mr. Fawcett’s key-card for physical access to the firm’s offices was last used on September 17,
2021 and was disabled shortly thereafter. K&K has no knowledge of Mr. Fawcett being in the
office at any time after September 17, 2021. Mr. Fawcett is no longer permitted to enter K&K’s
offices; as such, he does not have access to any MDL-related materials or documents stored in hard
copy at K&K’s offices.
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Since Mr. Fawcett’s leak of the Al-Jarrah deposition transcript, K&K has instituted new data
security protocols governing the restricted Network Directory where MDL-related materials are
stored. Mr. Fawcett has never had access to any MDL-related materials under these new protocols.

Login to the general K&K IT system requires a unique password and two-factor authentication for
every user. MDL-related materials can only be accessed by authorized individuals inside the firm
who have been assigned as members of a “security group” administered by the firm’s IT
Administrator, who monitors and regulates all users’ access and activity. K&K uses specialist data
security software to determine and audit which individual users have accessed MDL-related
materials, and when. The software records the name of every authorized individual who accesses
MDL materials, the time of the access, the specific records that were viewed, and the actions taken
by the user regarding the records. As well as having real-time oversight, K&K’s IT Administrator
receives a daily log of every record that is created, opened, closed, modified, or removed from the
MDL materials.

Mr. Fawcett’s removal and exclusion from all of the systems described above mean that he has no
access to any files in K&K’s possession, including any MDL-related materials, either in person or
remotely by means of Citrix or Sharefile.

We stand ready to provide the Court with any additional information it may require regarding this
matter.


                                             Respectfully Submitted,

                                             /s/ Emily Kirsch
                                             Emily Bab Kirsch
